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                               TAB 3
/
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    18TH DI STRICT COURT                                                      JOHNSON COUNTY , TEXAS

    DISTRICT CLERK                                                   ATTORNEY FOR PLAINTIFF(S)

    DAVID R. LLOYD                                                   WES HOLLAND
    GUINN JUSTICE CENTER                                             825 W. BITTERS ROAD
    P . O. BOX 495                                                   SUITE 102
    CLEBURNE , TEXAS 76033                                           SAN ANTONIO, TEXAS 78216

    =========================--===============================================================
                         C I T A T I 0 N         MA I L         C E R T I F I E D
    =================================================================================-~-======
                                       (PLAINTIFF'S ORIGINAL PETITION)
                                           CAUSE NO . DC-C201600029

    TO :   JOSEPH REKART I JR.
           4507 KELTON DR .
           DALLAS , TEXAS 75209-3819

    DEFENDANT - GREETINGS :

    YOU ARE HEREBY COMMAND ED to appear before the 18TH DISTRICT COURT of Johnson County ,
    Texas , by filing a written answer to the Plaintiff ' s Petition by 10 : 00 a . m. of the Monday
    next following the expiration of twenty (20) days after the service date of this citation
    and petition , filed in said court on the 22ND DAY OF JANUARY, 2016, in this cause
    numbered DC-C201600029, and styled :

    DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE VS. LEXINGTON INSURANCE COMPANY,JOSEPH REKART ,
                          JR. ,TEXAS DEPARTMENT OF INSURANCE COMMISSINER

    Issued and given under my hand and seal of said court at Cleburne , Texas ,     this 5TH DAY OF
    FEBRUARY, 2016.

                                                      DAVID R. LLOYD - DISTRICT
                                                      18TH DISTRICT COURT
                                                      JOHNSON COUNTY , TEXAS


                                                                                                  TY
                                 OFFICER' S RETURN BY MAILING
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                                   CAUSE NO . DC-C201600029

Came to hand the         day of                           , and executed by mailing to the
Defendant, via certified mail , return receipt requested, with restricted delivery, a true
copy of this citation together with an attached copy of afore-mentioned petition to the
following address:


                  DEFENDANT                                          ADDRESS

Service upon the Defendant is    evidenced by the return      receipt incorporated herein and
attached hereto, signed by                                         and dated

This citation was not executed for the following reason(s):



To certify which witness my hand officially ,
                                                Sher . /Const./Dist. Clerk

Fee for serving citation :    $~~~~~~-                                            County, Texas

                                                By                                        Deputy

ATTACH RETURN RECEIPT(S) WITH ADDRESSEE'S SIGNATURE BELOW:

SUBSCRIBED AND SWORN TO by                                                     before   me,   the
undersigned authority, this          day of


Notary Public (State of Texas)                   Notary Public (Printed Name)

                      Commission Expiration:
                                                                                        l-1led : 1/22/201611 :20:15Alll
                                                                                         David R. Lloyd , District Clerk
                                                                                                Johnson County, Texas
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                                                                                        By: Renee Alexander, Deput~




                                    CAUSE NO . DC-C201600029

DHARMA CL, LLC D/B/A                          §                        IN THE DISTRICT COURT
BEST WAY INN CLEBURNE                         §
Plaintiff                                     §
                                              §
VS.                                           §                       18th JUDICIAL DISTRICT
                                              §
LEXINGTON INSURANCE COMPANY                   §
AND JOSEPH REKART, JR.                        §
Defendants                                    §                     JOHNSON COUNTY, TEXAS

                                   PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE ("Plaintiff'),

complaining of LEXINGTON INSURANCE COMPANY ("Lexington") and JOSEPH

REKART. JR. ("Mr. Rekart") (collectively, "Defendants"), and for such cause of action

respectfully shows unto the Court and Jury as follows :

                                    I. DISCOVERY CONTROL PLAN

        Plaintiff currently seeks monetary relief over $200,000, but not more than $1 ,000,000.

Plaintiff intends for discovery to be conducted under Level 3 of Rule 190 of the Texas Rules of

Civil Procedure. This case involves complex issues and will require extensive discovery .

Therefore, Plaintiff asks the Court to order that discovery be conducted in accordance with a

discovery control plan tailored to the particular circumstances of this suit.

                                            II. PARTIES

        Plaintiff, DHARMA CL, LLC D/B/ A BEST WAY INN CLEBURNE, is a resident of

Johnson County, Texas.

                 Defendant, LEXINGTON INSURANCE COMPANY, is a corporation engaged in

the business of insurance in this state. Defendant has not designated or maintained a resident



PLAINTIFF' S ORI GINAL P ETITION
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registered agent for service of process in Texas. Accordingly, Plaintiff requests citation issued

pursuant to Texas Administrative Code, Title 28, Chapter 7, Rule §7.1414 as follows:

        Lexington Insurance Company
        99 High St. , Fl. 23
        Boston, MA 02110-2378
        By serving Julia Rathgeber
        Texas Department oflnsurance Commissioner
        333 Guadalupe St.
        Austin, TX 78701

        Plaintiff requests citation, along with two e-filed copies of this document, be served on

Texas Department of Insurance Commissioner, Julia Rathgeber, at 333 Guadalupe Street, Austin,

Texas 78701 , via certified mail, return receipt requested, in accordance with Texas Insurance

Code Section 804.103(c)(l ). Plaintiff has heretofore forwarded to the Texas Department of

Insurance the $50 .00 fee required by §804.201(c) of the Texas Insurance Code ..

        Defendant, JOSEPH REKART, JR. , is a Texas citizen residing in Texas and may be

served with process by certified mail, return receipt requested, at 4507 Kelton Dr. , Dallas, TX

75209-3819. Plaintiff requests service at this time.

                          III. AGENCY AND RESPONDEAT SUPERIOR

        Whenever in this petition it is alleged that Defendants did any act or thing, it is meant that

Defendants themselves or their agents, officers, servants, employees, or representatives did such

a thing. It was also done with the full authorization or ratification of Defendants or done in the

normal routine, course and scope of the agency or employment of Defendants or their agents,

officers, servants, employees, or representatives.

                                   IV. JURISDICTION AND VENUE

        This Court has jurisdiction over this case in that the amount in controversy exceeds the

minimum jurisdictional limits of this Court. Pursuant to Texas Rule of Civil Procedure 47




P LAINTIFF'S O RIGINAL P ETITION                                                                     2
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regarding Claims for Relief, the Plaintiff seeks monetary relief in an aggregate amount over

$200,000, but not more than $1 ,000,000.

        Venue is proper in Johnson County, Texas, because all or a substantial part of the events

giving rise to the lawsuit occun-ed in this county, and the insured property that is the basis ohhis

lawsuit is located in Johnson County, Texas.

                                      V. CONDITIONS PRECEDENT

         All conditions precedent to recovery have been performed, waived, or have occurred.

                                               VI. FACTS

A.       Plaintiff is the owner of a Texas Property Insurance Policy No. 41-LX-O 199072 73-1 , issued

         by Lexington (the "Policy").

B.       Plaintiff owns the insured property, which is specifically located at 2110 W. Katherine P.

         Raines Rd. , Cleburne, Texas 76033 (the "Property").

C.       Lexington, or its agent(s), sold the Policy, insuring the Property, to Plaintiff.

D.       In or about April 2015 , Plaintiff experienced a storm that damaged the Property. In its track,

         the storm left behind widespread damage to the Property, Plaintiffs business. The storm

         damage to Plaintiffs business was a covered loss under the Policy.

E.       The Plaintiff timely submitted a claim to Lexington, and Lexington assigned claim number

         AEXH-0156A9 to Plaintiffs claim. Lexington assigned Joseph Rekart, Jr. (" Mr. Rekart"),

         to adjust the claim. Mr. Rekart was an agent and representative of Lexington in regard to

         Plaintiffs claim. Mr. Rekart also acted as an insurance adjuster engaged in the business of

         insurance by investigating, processing, evaluating, approving, and denying, in whole or in

         part, Plaintiffs claim. Mr. Rekart was also charged with communicating with Plaintiff about

         Policy terms, coverage, and payment.




P LA INTIFF ' S ORI GINAL P ETITION                                                                    3
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F.      Lexington and Mr. Rekart were not diligent in the handling and resolution of Plaintiffs

        claim. Lexington and Mr. Rekart failed to timely and reasonably investigate Plaintiffs

        claim. Lexington and Mr. Rekart also failed to fairly and accurately adjust Plaintiffs claim,

        and as a result, Lexington and Mr. Rekart improperly denied full coverage and payment for

        the entire covered loss.

G.      In particular, Mr. Rekart inspected Plaintiffs property after the storm.          During the

        inspection, Mr. Rekart was tasked with the responsibility of conducting a thorough and

        reasonable investigation of Plaintiff s claim, including determining the cause of and then

        quantifying the damage done to Plaintiffs business. However, Mr. Rekart conducted a

        substandard inspection and prepared a repair estimate that vastly under-scoped the actual

        covered damages to the business. Mr. Rekart failed to account for all of the covered damage

        by omitting areas of storm damage to Plaintiffs business that was part of the covered loss

        under the Policy, including roof and exterior damage to multiple structural elements and

        interior damage to multiple rooms. Mr. Rekart also under-estimated and misrepresented the

        actual cost to repair the storm damage that he accounted for as part of the covered loss. As a

        result, Mr. Rekart' s inspection and estimate did not allow for adequate funds to cover repairs

        to restore Plaintiffs business.

H.      Mr. Rekart misrepresented the cause of, scope of, and cost to repair the damage to Plaintiffs

        business as well as the amount of and insurance coverage for Plaintiffs claim and covered

        loss. In particular, Mr. Rekart misrepresented material facts regarding lack of coverage for

        omitted storm damages and the costs of needed repairs, materials, taxes, and contractor's

        overhead and profit. Mr. Rekart made these and other misrepresentations to Plaintiff and

        Lexington. Plaintiff and Lexington relied on Mr. Rekart' s misrepresentations, and Plaintiff




PLAINTIFF'S ORI GINAL P ETITION                                                                       4
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        has been damaged as a result of such reliance. Mr. Rekart's misrepresentations caused

        Lexington to deny Plaintiffs claim, and as a result, Plaintiff has not been able to properly

        and completely repair the damages to Plaintiffs business, which has caused additional and

        further damage to Plaintiffs business.

I.      Based upon Mr. Rekart' s adjustment, Lexington determined that no payment was due on

        Plaintiffs claim even though the actual cost to repair Plaintiffs business far exceeds the

        amount Mr. Rekart estimated. Thus, Defendants Lexington and Mr. Rekart demonstrated

        they did not conduct a thorough and reasonable investigation of the claim.

J.      Defendant Lexington failed to perform its contractual duty to adequately compensate

        Plaintiff under the terms of the Policy. Specifically, Defendant Lexington failed and refused

        to properly pay proceeds of the Policy, although due demand was made for proceeds to be

        paid in an amount sufficient to cover the damaged property and all conditions precedent to

        recovery upon the Policy had been carried out and accomplished by Plaintiff. Defendant

        Lexington ' s conduct constitutes a breach of the insurance contract.

K.      Defendants Lexington and Mr. Rekart failed to fairly evaluate and adjust Plaintiffs claim

        as they are obligated to do under the Policy and Texas law. By failing to properly investigate

        the claim and wrongfully denying full coverage to Plaintiff, Lexington and Mr. Rekart

        engaged in unfair insurance and settlement practices prohibited under Texas law.

L.      Mr. Rekait made, issued, and circulated an estimate and related statements that

        misrepresented the benefits under the Policy, which promised to pay the full amount of loss

        to the Plaintiff. Defendant's conduct constitutes a violation of the Misrepresentation

        Regarding Policy or Insurer section of the Texas Insurance Code. Tex. Ins. Code

        § 541.051 (1 )(B).




PLAINTIFF'S ORI GINAL P ETITI ON                                                                     5
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M.      Defendants Lexington and Mr. Rekart misrepresented to Plaintiff that the damage to the

        Property was not covered under the Policy, even though the damage was caused by a

        covered peril. Defendants' conduct constitutes a violation of the Unfair Settlement Practices

        section of the Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(l).

N.      Defendants Lexington and Mr. Rekart failed to make an attempt to settle Plaintiff's claim in

         a fair manner, although they were aware of their liability to Plaintiff under the Policy.

         Defendants' conduct constitutes a violation of the Unfair Settlement Practices section of the

         Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(2)(A).

0.       Defendants Lexington and Mr. Rekart failed to explain to Plaintiff why full payment was

         not being made. Furthermore, Defendants did not communicate that future payments would

         be forthcoming to pay for the entire losses covered under the Policy, nor did Defendants

         provide any explanation for the failure to adequately settle Plaintiff's claims. Defendants'

         conduct constitutes a violation of the Unfair Settlement Practices section of the Texas

         Insurance Code. Tex. Ins. Code§ 541.060(a)(3).

P.       Defendants Lexington and Mr. Rekart failed to affirm or deny coverage of Plaintiff's claim

         within a reasonable time.     Specifically, Plaintiff did not receive timely indication of

         acceptance or rejection, regarding the full and entire claim, in writing from Defendants.

         Defendants' conduct constitutes a violation of the Unfair Settlement Practices section of the

         Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(4).

Q.       Defendants Lexington and Mr. Rekart refused to fully compensate Plaintiff under the terms

         of the Policy, even though Defendants failed to conduct a reasonable investigation.

         Specifically, Defendants Lexington and Mr. Rekart performed an outcome-oriented

         investigation of Plaintiff's claim, which resulted in a biased, unfair and inequitable




P LAINTIFF ' S ORIGIN AL P ETITION                                                                   6
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        evaluation of Plaintiff's losses to the Property. Defendants' conduct constitutes a violation

        of the Unfair Settlement Practices section of the Texas Insurance Code. Tex. Ins. Code

        § 541.060(a)(7).

R.      Defendant Lexington failed to meet its obligations under the Texas Insurance Code

        regarding timely acknowledging Plaintiff's claim, beginning an investigation of Plaintiff's

        claim, and requesting all information reasonably necessary to investigate Plaintiff's claim

        within the statutorily mandated deadline. Defendant's conduct constitutes a violation of the

        Prompt Payment of Claims subchapter of the Texas Insurance Code. Tex. Ins. Code

         § 542.055 .

S.      Defendant Lexington failed to accept or deny the Plaintiff's full and entire claim within the

         statutory mandated deadline of receiving all necessary information. Defendant' s conduct

         constitutes a violation of the Prompt Payment of Claims subchapter of the Texas Insurance

         Code. Tex. Ins. Code § 542.056.

T.       Defendant Lexington failed to meet its obligations under the Texas Insurance Code

         regarding payment of claims without delay. Specifically, Defendant has delayed full

         payment of Plaintiff's claim longer than allowed and, to date, Plaintiff has not yet received

         full payment for Plaintiff's claim. Defendant' s conduct constitutes a violation of the Prompt

         Payment of Claims subchapter of the Texas Insurance Code. Tex. Ins. Code§ 542.058.

U.       From and after the time Plaintiffs claim was presented to Defendant Lexington, the liability

         to pay the full claim in accordance with the terms of the Policy was reasonably clear.

         However, Defendant Lexington has refused to pay Plaintiff in full, despite there being no

         basis whatsoever on which a reasonable insurance company would have relied to deny the




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          full payment. Defendant' s conduct constitutes a breach of the common law duty of good

          faith and fair dealing.

V.        As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

          professional services of the attorney and law finn who are representing Plaintiff with respect

          to these causes of action. To date, Defendants have failed to and refused to pay Plaintiff for

          the proper repair of the property.

W.        The Plaintiff s experience is not an isolated case. The acts and omissions of Defendants

          committed in this case, or similar acts and omissions, occur with such frequency that they

          constitute a general business practice of Defendants with regard to handling this type of

          claim. Defendants' entire process is unfairly designed to reach favorable outcomes for the

          company at the expense of the policyholder.

                                       VII. THEORIES OF LIABILITY

A. Cause of Action for Breach of Contract

          Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

          According to the Insurance Policy that Plaintiff purchased, Defendant Lexington has the

duty to investigate and pay Plaintiffs policy benefits for claims made for covered damages,

including additional benefits under the Policy, resulting from the damages. As a result of these

damages, which result from covered perils under the Policy, the Plaintiffs business has been

damaged.

          Defendants' Lexington and Mr. Rekart failure and refusal, as described above, to pay the

adequate compensation as they are obligated to do under the terms of the Policy in question and

under the laws of the State of Texas, constitutes a breach of Defendant Lexington' s contract with




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Plaintiff. As a result of this breach of contract, Plaintiff has suffered the damages that are

described in this petition.

B. Cause of Action for Violation of Section 542

        The Plaintiff re-alleges and incorporates by reference all previous and subsequent

paragraphs herein.

        Defendant Lexington's acts, omissions, failures, and conduct that are described in this

petition violate Section 542 of the Texas Insurance Code. Within the timeframe required after the

receipt of either actual or written notice of the Plaintiffs claim, Defendant did not request from

Plaintiff any items, statements, and forms that it reasonably believed at that time would be

required from Plaintiff for Plaintiffs claim. As a result, Defendant Lexington has violated

Section 542 by failing to accept or reject Plaintiffs claim in writing within the statutory

timeframe. Defendants also violated Section 542 by failing to pay Plaintiffs claim within the

applicable statutory period. Additionally, if it is determined Defendant Lexington owes Plaintiff

any additional monies on Plaintiffs claim, then Defendant has automatically violated Section

542 in this case.

C. DTP A Cause of Action

        The Plaintiff re-alleges and incorporates by reference all previous and subsequent

paragraphs herein.

        The Plaintiff incorporates all the allegations in this petition for this cause of action

against Defendants under the provisions of the DTPA. The Plaintiff is a consumer of goods and

services provided by Defendants pursuant to the DTP A. The Plaintiff has met all conditions

precedent to bringing this cause of action against Defendants Lexington and Mr. Rekart.




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Specifically, Defendants' violations of the DTP A include, without limitation, the following

matters.

       By their acts, 01russ1ons, failures, and conduct that are described in this petition,

Defendants Lexington and Mr. Rekart have violated Sections 17.46(b)(2), (5), (7), (12) and (19)

of the DTPA. In this respect, Defendants' violations include, without limitation:

       A.       (1 ) their unreasonable delays in the investigation, adjustment and resolution of

                Plaintiffs claim, (2) their failure to give Plaintiff the benefit of the doubt, and (3)

                their failure to pay for the proper repair of Plaintiffs business on which liability

                had become reasonably clear. This gives Plaintiff the right to recover under

                Section 17.46(b)(2) of the DTP A;

       B.       As described in this petition, Defendants represented to Plaintiff that the insurance

                policy and Defendants' adjusting and investigative services had characteristics or

                benefits that they did not have, which gives Plaintiff the right to recover under

                Section 17.46(b)(5) of the DTPA;

           C.   As described in this petition, Defendants represented to Plaintiff that the insurance

                policy and Defendants' adjusting and investigative services were of a particular

                standard, quality, or grade when they were of another in violation of Section

                17.46(b)(7) of the DTP A;

           D.   As described in this petition, Defendants represented to Plaintiff that the insurance

                policy and Defendants ' adjusting and investigative services conferred or involved

                rights, remedies, or obligations that they did not have, which gives Plaintiff the

                right to recover under Section 17.46(b)(12) of the DTP A;




PLAINTIFF'S ORIGINAL P ETITION                                                                       IO
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        E.        Defendants have breached an express warranty that the damage caused by the

                  subject storm would be covered under the insurance policies. This breach entitles

                  the Plaintiff to recover under Sections 17.46(b)(12) and (19) and 17.50(a)(2) of

                  the DTPA;

         F.       Defendants' actions, as described in this petition, are unconscionable in that they

                  took advantage of Plaintiffs lack of knowledge, ability, and experience to a

                  grossly unfair degree. Defendants' unconscionable conduct gives Plaintiff the

                  right to relief under Section 17.50(a)(3) of the DTPA; and

         G.       Defendants' conduct, acts, omissions, and failures, as described in this petition,

                  are unfair practices in the business of insurance in violation of Section 17.50(a)(4)

                  of the DTPA.

         All of the above-described acts, omissions, and failures of Defendants are a producing

cause of Plaintiffs damages that are described in this petition. All of the above-described acts,

omissions, and failures of Defendants were done knowingly and intentionally as those terms are

used in the Texas Deceptive Trade Practices Act.

D. Cause of Action for Unfair Insurance Practices

         The Plaintiff re-alleges and incorporates by reference all prev10us and subsequent

paragraphs herein.

         The Plaintiff incorporates all the allegations in this petition for this cause of action

against Defendants Lexington and Mr. Rekart under the Texas Insurance Code. The Plaintiff has

satisfied all conditions precedent to bringing this cause of action. By their acts, omissions,

failures, and conduct, Defendants Lexington and Mr. Rekart have engaged in unfair and

deceptive acts or practices in the business of insurance in violation of 541 of the Texas Insurance




P LA INT IFF'S ORI GINAL P ETITION                                                                   11
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Code. Such violations include, without limitation, all the conduct described in this petition plus

Defendants' unreasonable delays in the investigation, adjustment, and resolution of the Plaintiff's

claim and Defendants' failure to pay for the proper repair of the Plaintiff's business on which

liability had become reasonably clear. They further include Defendants' failure to give Plaintiff

the benefit of the doubt. Specifically, Defendants Lexington and Mr. Rekart are guilty of the

following unfair insurance practices:

        A.       Engaging in false, misleading, and deceptive acts or practices in the business of

                 insurance in this case;

        B.       Engaging in unfair claim settlement practices;

        C.       Making, issuing, or circulating an estimate or statement that misrepresents the

                 promised benefits under the policy;

        D.       Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the

                  coverage at issue;

        E.       Not attempting in good faith to effectuate a prompt, fair, and equitable settlement

                  of claim submitted in which liability has become reasonably clear;

        F.        Failing to affirm or deny coverage of Plaintiff's claim within a reasonable time;

        G.        Refusing to pay Plaintiff's claim without conducting a reasonable investigation

                  with respect to the claim; and

        H.        Failing to provide promptly to a policyholder a reasonable explanation of the

                  basis in the insurance policy in relation to the facts or applicable law for the

                  denial of a claim or for the offer of a company ' s settlement.

        Defendants Lexington and Mr. Rekart have also breached the Texas Insurance Code when

they breached their duty of good faith and fair dealing. Defendants' conduct as described herein

has resulted in Plaintiff's damages that are described in this petition.


PLAINTIFF' S ORIGIN A L P ETITION                                                                     12
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          All of the above-described acts, om1ss10ns, and failures of Defendants were done

knowingly as that term is used in the Texas Insurance Code.

E. Cause of Action for Breach of Duty of Good Faith and Fair Dealing

          Plaintiff re-alleges and incorporates by reference all previous and subsequent paragraphs

herein.

          Plaintiff incorporates all the allegations of the preceding paragraphs for this cause of

action. By their acts, omissions, failures, and conduct, Defendant Lexington has breached its

common law duty of good faith and fair dealing by failing to pay the proper amounts on

Plaintiff's entire claim without any reasonable basis and by failing to conduct a reasonable

investigation to determine whether there was a reasonable basis for this denial. Defendant has

also breached this duty by unreasonably delaying payment of Plaintiff's entire claim and by

failing to settle Plaintiffs entire claim because Defendant knew or should have known that it was

reasonably clear that the claim was covered. These acts, omissions, failures, and conduct of

Defendant are a proximate cause of Plaintiffs damages.

                                    VIII. WAIVER AND ESTOPPEL

          Defendants have waived and are estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter

to the Plaintiff.

                                          IX. DAMAGES

          The above described acts, omissions, failures , and conduct of Defendants caused

Plaintiffs damages, which include, without limitation, the cost to properly repair Plaintiffs

business and any investigative and engineering fees incurred in the claim. The Plaintiff is also

entitled to recover consequential damages from Defendants' breach of contract. The Plaintiff is




P LAINTIFF ' S ORI GINAL PETITION                                                                13
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also entitled to recover the amount of Plaintiffs claim plus an 18% per annum penalty on that

claim against Defendants as damages under Section 542 of the Texas Insurance Code, plus

prejudgment interest and attorneys fees . All the damages described in this petition are within the

jurisdictional limits of the Court and exceed an aggregate amount of monetary relief more than

$200,000, but not more than $1 ,000,000.

                                      X. ADDITIONAL DAMAGES

         Defendants have also "knowingly" and "intentionally" committed deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because of Defendants' knowing and intentional misconduct, Plaintiff is entitled to additional

damages as authorized by Section 17.50(b)(l) of the DTPA. Plaintiff is further entitled to the

additional damages that are authorized by Section 541 of the Texas Insurance Code.

                                      XI. EXEMPLARY DAMAGES

         Defendant Lexington's breach of its duty of good faith and fair dealing owed to Plaintiff

was done intentionally, with a conscious indifference to the rights and welfare of Plaintiff, as

defined in Chapter 41 of the Texas Civil Practice and Remedies Code. These violations by

Defendant are the type of conduct which the State of Texas protects its citizen against by the

imposition of exemplary damages. Therefore, Plaintiff seeks the recovery of exemplary damages

in an amount to be determined by the finder of fact that is sufficient to punish Defendant for its

wrongful conduct and to set an example to deter Defendant and others similarly situated from

committing similar acts in the future.

                                       XII. ATTORNEYS' FEES

         As a result of Defendants' conduct that is described in this petition, Plaintiff has been

forced to retain the undersigned attorneys to prosecute this action and has agreed to pay




P LA TNTI FF'S ORI GINAL P ETITI ON                                                              14
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reasonable attorneys' fees. Plaintiff is entitled to recover these attorneys ' fees under Chapter 38

of the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance

Code, and Section 17.50 of the DTPA.

                                        XIII. DISCOVERY

         Under the Texas Rule of Civil Procedure 194, the Defendants are requested to disclose

within fifty (50) days of service of this request, the information or material described in Texas

Rule of Civil Procedure 194.2 (a) through (1).

         The Plaintiffs Requests for Disclosure, Requests for Production, Interrogatories, and

Requests for Admissions are attached, for service at the time of service of this petition, and

incorporated herein by reference.

                                       XIV. JURY DEMAND

         Plaintiff demands ajury trial and tenders the appropriate fee with this petition.

                                           XV.PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear and answer herein, and that upon trial hereof, said Plaintiff have and recover such sums as

would reasonably and justly compensate Plaintiff in accordance with the rules of law and

procedure, both as to actual damages, consequential damages, treble damages under the Texas

Insurance Code and Texas Deceptive Trade Practices Act, and all punitive and exemplary

damages as may be found. In addition, Plaintiff requests the award of attorneys ' fees for the trial

and any appeal of this case, for all costs of court, for prejudgment and post-judgment interest as

allowed by law, and for any other and further relief, at law or in equity , to which Plaintiff may

show itself to be justly entitled.




P LA INTIFF' S ORI GINAL P ETITI ON                                                               15
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                                          Respectfully submitted,

                                          ALLAN, NAVA, GLANDER & HOLLAND, PLLC
                                          825 W. Bitters Road, Suite 102
                                          San Antonio, Texas 78216
                                          Telephone: (210) 305-4220
                                          Telecopier: (210) 305-4219
                                          serveone@ANGlawfirm.com
                                    By:
                                            I
                                          WES HOLLAND
                                          State Bar No. 24007379
                                          WILLIAM N. ALLAN, IV
                                          State Bar No . 24012204
                                          ATTORNEYS FOR THE PLAINTIFF




PLA INTIFF' S ORIGI NAL P ETITION                                                     16
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 PLAINTIFF'S, DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE, REQUESTS
   FOR DISCLOSURE TO DEFENDANT, LEXINGTON INSURANCE COMPANY

TO:     LEXINGTON INSURANCE COMPANY, Defendant

        Pursuant to Rule 194, you are requested to disclose, within 50 days of service of this

request, the information requested below.

                       REQUESTS FOR DISCLOSURE TO DEFENDANT

REQUEST FOR DISCLOSURE 194.2(a): The correct name of the parties to the lawsuit.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(b): Name, address, and telephone number of any
potential parties.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(c): The legal theories and, in general, the factual bases
for your claims or defenses.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(d): The amount and any method of calculating
economic damages .

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(e): The name, address, and telephone number of
persons having knowledge of relevant facts, and a brief statement of each identified person's
connection with the case.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(0: For any testifying expert:

        (a)      the expert's name, address, and telephone number;

        (b)      the subject matter on which the expert will testify ;

        (c)      the general substance of the expert's mental impressions and opinions and a brief
                 summary of the basis for them, or if the expert is not retained by, employed by, or
                 otherwise subject to your control, documents reflecting such information;
        (d)      if the expert is retained by, employed by, or otherwise subject to your control:



Plaintiffs Requests for Disclosure
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                  (i)      all documents, tangible things, reports, models, or data compilations that
                           have been provided to, reviewed by, or prepared by or for the expert in
                           anticipation of the expert's testimony; and

                  (ii)     the expert's current resume and bibliography.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(g): Any indemnity and insuring agreements.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(h): Any settlement agreements.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(i): Any witness statements.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(j): All medical records and bills that are reasonably
related to the injuries or damages asserted or, in lieu thereof, an authorization permitting the
disclosure of such medical records and bills.

RESPONSE:

REQUEST FOR DISCLOSURE 194.2(1): The name, address and telephone number of any
person who may be designated as a responsible third party.

RESPONSE:




Plaintiff's Requests for Disclosure                                                                 2
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         PLAINTIFF'S, DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE,
              FIRST RE UESTS FOR PRODUCTION TO DEFENDANT
                       LEXINGTON INSURANCE COMPANY

TO:     LEXINGTON INSURANCE COMPANY, Defendant

        Instructions: Pursuant to the provisions of TEX. R. Clv. P. 196, you are hereby requested to

produce the below-designated documents.

        Pursuant to Rule 196.3, you are requested to serve responses and originals or copies of the

originals at the law offices of ALLAN, NAVA, GLANDER, & HOLLAND, PLLC. Pursuant to

Rule 196.2, a Response to these Requests shall be served within fifty (50) days after receipt of the

Requests.

        Pursuant to Rule 196.3, the documents must be produced as they are kept in the usual course

of business, or organized and labeled to correspond to the requests for production.

        As used herein, the following terms shall have the meaning indicated below:

        A.       "Person" means natural persons, corporations, partnerships, sole proprietorships,
                 unions, associations, federations or any other kind of entity.

        B.       "Document" means any printed, typewritten, handwritten, mechanically or otherwise
                 recorded matter of whatever character, including but without limitation, letters,
                 purchase orders, memoranda, telegrams, notes, catalogues, brochures, diaries,
                 reports, calendars, inter- and intra-office communications, statements, investigative
                 reports, announcements, depositions, answers to interrogatories, pleadings,
                 judgments, newspaper articles, photographs, tape recordings, motion pictures and
                 any carbon or photographic copies of any such material if you do not have custody
                 or control of the original. If any document requested to be identified was, but is no
                 longer in your possession or control or is no longer in existence, state whether it is
                 (1) missing or lost; (2) destroyed; (3) transferred voluntarily or involuntarily to
                 others and, if so, to whom, or (4) otherwise disposed of; and in each instance explain
                 the circumstances surrounding an authorization of such disposition thereof, state the
                 approximate date thereof and describe its contents.

         C.       "You and "Your" shall mean the party to whom these questions are directed as well
                  as agents, employees, attorneys, investigators and all other persons acting for said
                  "party".




Plaintiff's Requests for Production
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                                      REQUESTS FOR PRODUCTION

RE UEST FOR PRODUCTION NO. 1: The insurance policy m effect on the date of
Plaintiffs claim(s) making the basis ofthis suit.

RESPONSE:

RE UEST FOR PRODUCTION NO. 2: The entire claims investigation files generated and
maintained by Defendant in the ordinary course of business pertaining to Plaintiffs claim(s)
making the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 3: All training and educational materials which instruct
Defendant' s claims adjusters or claims handlers in handling claims for property damage coverage
under Defendant' s property insurance policies in Texas. This request is limited to the last five (5)
years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 4: All training and educational materials which instruct
claims adjusters or claims handlers in handling claims for coverage for property damage, hurricane
damage, hail, water damage, roof and/or wind damage under Defendant' s property insurance
policies in Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 5: All procedure or policy manuals or guides meant to
guide and assist Defendant' s claims adjusters or claims handlers in handling claims for property
damage, including the criteria for and the process for evaluating whether coverage exists under
Defendant's property insurance policies in Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 6: All procedure or policy manuals or guides meant to
guide and assist Defendant's claims adjusters or claims handlers in handling claims for property
damage, hurricane damage, hail, water damage, roof damages, and/or wind damage to the property,
including the criteria, for and the process for, evaluating whether coverage exists under
Defendant's property insurance policies in Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 7: All communications and                          documents, including
electronic, between Defendant and Plaintiff regarding Plaintiff's claim(s).

RESPONSE:



Plaintiff's Requests for Production                                                                 2
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RE UEST FOR PRODUCTION NO. 8: All communications and documents, including
electronic, between Defendant and any third party regarding Plaintiffs claim(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 9: All communications and documents, including
electronic, between Defendant and any other Defendant(s) regarding Plaintiffs claim(s).

RESPONSE:

RE UEST FOR PRODUCTION NO. 10: All communications and documents, including
electronic, between Defendant' s business departments, including all persons part of the Defendant
company, regarding Plaintiffs claim(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 11: All communications and documents Defendant sent
to any other Defendant(s) in this cause of action regarding Plaintiff or the Property, after Plaintiffs
claim(s) for coverage.

RESPONSE:

REQUEST FOR PRODUCTION NO. 12: All photographs, diagrams, drawings, or other
graphic depictions of Plaintiff or the Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 13: Any and all documents, reports, data, emails, notes,
photos, videos, manuals, guides, and summaries regarding the insurance claim(s) made the basis of
this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 14: All reports and other documents from governmental
agencies or offices regarding Plaintiffs Property or containing officially kept information
regarding Plaintiffs Property.

RESPONSE:

REQUEST FOR PRODUCTION NO. 15: Any and all claims files and claim reports,
including but not limited to notes, emails, data, photos, videos, manuals, guides, summaries and
claim documents, regarding all property insurance claims made by Plaintiff under its property
insurance policy/policies with Defendant, specifically regarding damage to the: exterior and
interior of Plaintiffs Property. This request is limited to the last ten (10) years.




Plaintiff's Requests for Production                                                                   3
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RESPONSE:

REQUEST FOR PRODUCTION NO. 16: Any and all records and/or documents explaining
criteria utilized to qualify vendors for the "approved vendors list."

RESPONSE:

RE UEST FOR PRODUCTION NO. 17: Any and all records and/or documents maintained by
person(s) responsible for maintaining and updating the "approved vendors list."

RESPONSE:

REQUEST FOR PRODUCTION NO. 18: Any and all records and/or documents maintained by
person(s) responsible for creating the criteria utilized to qualify vendors, including contractors and
roofing companies, for the "approved vendors list."

RESPONSE:

REQUEST FOR PRODUCTION NO. 19: All documents, including reports, estimates, data,
emails, testing, sampling, videos, and photographs received by Defendant regarding inspections of
Plaintiff's Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 20: Any and all records Defendant received, including
those obtained by way of deposition by written questions, regarding Plaintiff's Property made the
basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 21: Any and all records or documents Defendant has
reviewed and/or obtained regarding Plaintiff's Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 22: Any and all claims files Defendant has reviewed
and/or obtained regarding Plaintiff's Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 23: Any and all claims files Defendant has reviewed
and/or obtained regarding Plaintiff's Property made the basis of this lawsuit.

RESPONSE:




PlaintiWs Requests for Production                                                                    4
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REQUEST FOR PRODUCTION NO. 24: All bulletins or other communications received from
the Texas Department of Insurance, the Texas Insurance Commissioner, or their agents,
regarding practices in the handling of claims for property damage under Defendant's property
insurance policies in Texas. This request is limited to the last five (5) years.

RESPONSE:

RE UEST FOR PRODUCTION NO. 25: All bulletins or other communications received from
the Texas Department of Insurance, the Texas Insurance Commissioner, or their agents,
regarding practices in the handling of claims for property damage, hurricane damage, hail, water
damage, hail damage, roof damage, and/or wind damage under property insurance policies in
Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 26: All materials meant to instruct and guide claims
adjusters under Texas law and/or company policy with regard to unfair claims settlement
practices, unfair claims handling practices, standards to be met in adjusting or handling
Defendant's first property insurance claims, or avoiding charges of bad faith. This request is
limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 27: All materials meant to instruct and guide
Defendant's claims adjusters under Texas law and/or company policy with regard to
understanding and complying with the Texas Insurance Code §541.060 and/or Article 21.21.
This request is specifically limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 28: All materials meant to instruct and guide
Defendant's claims adjusters under Texas law and/or company policy with regard to
understanding and complying with the Texas Insurance Code §542.055 et seq. and/or Article
21.55. This request is specifically limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 29: Any and all materials, documents, statements and/or
files that demonstrate Defendant's net worth and Defendant's net income. This request is limited to
the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 30: Any and all materials, documents, statements and/or
files that reflect complaints and/or lawsuits filed by insured against Defendant regarding the




Plaintiffs Requests for Production                                                                5
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handling, review and/or adjusting of property insurance claims in Texas. This request is limited
to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 31: A copy of each advertisement Defendant has used,
published and/or distributed, through any means, in Texas. This request is limited to the last five
(5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 32: Any and all materials, handouts, manuals, outlines,
articles and/or documents used or relied upon by Defendant to conduct any seminars and/or
continuing education classes for Defendant's employees and/or independent adjusters, regarding
the adjusting and/or handling of property insurance claims, commercial insurance claims, and
property damage claims, hurricane claims, water damage claims, roof damage claims, and/or
wind damage claims in Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 33: Any and all materials, handouts, manuals, outlines,
articles and/or documents issued by Defendant to claims representatives and/or adjusters, or
received by claims representatives and/or adjusters, or relied upon by claims representatives
and/or adjusters, pertaining to the adjusting and/or handling of property insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,
roof damage claims, and/or wind damage claims in Texas. This request is limited to the last five
(5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 34: Any and all reference materials, handouts, manuals,
outlines, articles, and/or documents distributed and/or disbursed to Defendant's employer,
employees, agents and/or representatives in connection with attendance at seminars and/or
continuing education classes regarding the adjusting and/or handling of property insurance
claims, commercial insurance claims, and property damage, hurricane claims, hail, water
damage, roof damage claims and/or wind damage claims in Texas, within the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 35: Any and all materials reflecting Defendant's
attendance policies for adjusters and claims representatives at seminars and/or continuing
education classes regarding the adjusting and/or handling of property insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,
roof damage claims, and/or wind damage claims in Texas. This request is limited to the last five
(5) years.




Plaintiff's Requests for Production                                                               6
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RESPONSE:

RE UEST FOR PRODUCTION NO. 36: Any and all materials, documents, files and/or
reports sent to Defendant by its employer, employees, agents, and/or representatives on a
monthly, weekly, or daily basis regarding Plaintiffs claim(s). Include any and all field notes and
summaries of the room-by-room scope of Plaintiffs Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 37: Any and all materials, documents, files, and/or
reports containing list(s) of contractors and/or roofing companies that have been approved and/or
recommended for performance of services for Defendant in Texas, specifically related to
property insurance claims. This request is limited to the last five (5) years .

RESPONSE:

REQUEST FOR PRODUCTION NO. 38: Any and all computer programs, electronic data,
documents, and/or manuals used by the adjusters and claims representatives to perform property
damage estimates relating to property insurance claims in Texas, including a complete copy of
the computer program used to adjust Plaintiffs claim(s). This request is limited to the last five
(5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 39: Any and all reference materials, handouts, manuals,
outlines, articles, and/or documents that have been distributed by and/or disbursed to Defendant
regarding the price estimates of contractors and changes of those estimates within different
geographical areas of the State of Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 40: Any and all materials, documents, files and/or reports
of contractors and roofing companies that have been approved and/or recommended for
perfo1mance of services for Defendant in Texas. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 41: Any and all materials, documents, files, invoices,
and/or reports of any and all contractors and roofing companies retained to investigate, inspect,
and/or evaluate Plaintiffs claim(s) made the basis of this lawsuit, prepared on behalf of the
Defendant.

RESPONSE:

REQUEST FOR PRODUCTION NO. 42: Any and all materials, documents, files, invoices,
and/or reports of any and all contractors and roofing companies retained to investigate, inspect,



Plaintiff's Requests for Production                                                               7
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and/or evaluate claims similar in nature to Plaintiffs claim(s) asserted in this lawsuit, prepared
on behalf of Defendant. This request is limited to the State of Texas. This request is limited to
the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 43: A complete copy of the entire personnel file(s) of any
and all adjusters assigned to Plaintiff's claim made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 44: The most recent address maintained on file for any
and all adjusters assigned to Plaintiff's claim made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 45: Any and all documents and/or claim files for
persons or entities that have filed property damage, hurricane damage, hail, water damage, roof
damage, and/or wind damage claims that have been adjusted by any adjusters and/or adjusting
companies on behalf of Defendant.

RESPONSE:

REQUEST FOR PRODUCTION NO. 46: Any and all activity logs relating to Plaintiffs
claim(s) for property damage, hurricane damage, hail, water damage, roof damage, and/or wind
damage to Plaintiffs property, and specifically, the claim(s) made the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 47: Any and all documents reflecting company
guidelines, procedures, or policies that serve as criteria for evaluating whether claims are
covered or excluded by any policy provisions Defendant contends applied to Plaintiffs claim(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 48: Any and all organizational chaits for Defendant.

RESPONSE:

REQUEST FOR PRODUCTION NO. 49: Any and all organizational charts or diagrams for
each department, unit, or section of Defendant to which Plaintiff's claim(s) was assigned.

RESPONSE:




Plaintiffs Requests for Production                                                               8
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REQUEST FOR PRODUCTION NO. 50: Any and all chru.ts or diagrams reflecting the chain of
command or supervisory hierarchy relating to each person involved in handling Plaintiffs
claim(s).

RESPONSE:

RE UEST FOR PRODUCTION NO. 51: Any and all claims and underwriting files for each
claim involving property damage, hurricane damage, hail, water damage, roof damage, and/or
wind damage made against Defendant, investigated by any and all adjusters assigned to
Plaintiffs claim made the basis ofthis lawsuit in Texas, This request is limited to the last five (5)
years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 52: Any and all demand letters received by Defendant
after the handling of a claim involving property damage, hurricane damage, hail, water damage,
roof damage, and/or wind damage that was adjusted by any and all adjusters assigned to
Plaintiffs claim made the basis of this lawsuit. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 53: Any and all documents reflecting or relating to
Defendant' s decision to pay or deny additional expenses to or on behalf of Plaintiff in this case.

RESPONSE:

REQUEST FOR PRODUCTION NO. 54: Any and all records reflecting payment to Plaintiffs
claim( s) made the basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 55: Any and all documents, including con-espondence
and checks, exchanged between Defendant and any and all vendors concerning Plaintiffs claim(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 56: Any and all documents relating to or reflecting any
and all adjusters assigned to Plaintiffs claim made the basis of this Lawsuit, from the time of
hiring through the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 57: Any and all documents relating to the assignment of
Plaintiffs claim(s) to any and all adjusters assigned to Plaintiff s claim made the basis of this
lawsuit, from the time of hiring through the present.




Plaintiff s Requests for Production                                                                 9
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RESPONSE:

RE UEST FOR PRODUCTION NO. 58: Any and all documents relating to or reflecting
referrals of vendors to Plaintiff or any insured.

RESPONSE:

RE UEST FOR PRODUCTION NO. 59: If you are withholding documents based upon the
assertion of a privilege, please produce a privilege log, detailing with reasonable particularity a
description of the documents withheld, the number of documents, and the applicable privilege
which Defendant claims properly precludes the information discovery.

RESPONSE:

REQUEST FOR PRODUCTION NO. 60: Any and all advanced or specialized certifications of
personnel who inspected, investigated, and/or supervised the adjusting of the claim(s) pertaining
to the Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 61: Any and all documents, including contracts, rules,
guidelines and/or instructions exchanged between Defendant, Plaintiff and any and all adjusters
assigned to Plaintiffs claim made the basis of this Lawsuit, from the time of hiring through the
present, and any other entities with whom Defendant worked or communicated regarding the
Property made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 62: All physical or tangible items and/or potentially
usable evidence obtained by, or on behalf of, Defendant from the scene of the occurrence made the
basis of this suit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 63: Any and all indemnity agreements between
Defendant and any other person, firm, or corporation against which a claim of indemnification
might be brought because of the facts in this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 64: Any and all complaint policies and procedures
regarding the handling by Defendant of complaints made by insured policyholders. This request is
limited to the last five (5) years.

RESPONSE:




Plaintiff's Requests for Production                                                                   10
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REQUEST FOR PRODUCTION NO. 65: Copies of all job descriptions of employees that
adjusted or in any way supervised the handling of Plaintiffs claim(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 66: All non-privileged e-mails regarding the
investigation, adjusting, and/or handling of the claim(s) made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 67: All e-mails between Defendant's adjusters, agents,
supervisors, officers, and/or executives regarding changes in the educational programs relating to
the handling of property damage, hurricane damage, hail , water damage, and/or roof damage
claims.

RESPONSE:

REQUEST FOR PRODUCTION NO. 68: All computer files, databases, electronically-stored
information or computer-stored information regarding property damage, hurricane damage,
water damage and/or roof damage that have been compiled, prepared, and/or supervised by
Defendant, whether or not they are in Defendant's possession or in the possession of another
entity.

RESPONSE:

REQUEST FOR PRODUCTION NO. 69: True and complete copies of all billing records from
any and all independent adjusters regarding the claim(s) made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 70: True and complete copy of activity logs filed by the
staff and independent adjusters on the file pertaining to the claim(s) made the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 71: Any and all reports, documents, or conespondence
containing the names and locations of all adjusters who have worked on this file to the present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 72: True and complete copies of all billings on the file
from the independent adjusters, including the time sheets or documentation used to justify the
billings.

RESPONSE:




Plaintiffs Requests for Production                                                                  11
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REQUEST FOR PRODUCTION NO. 73: Any and all reports, documents or correspondence
reflecting the reserving and payment history of indemnity, expenses, and vendors on this file
including but not limited to dates, changes and requests made by the adjusters. This request is
limited to the last five (5) years.

RESPONSE:

RE UEST FOR PRODUCTION NO. 74: Any and all correspondence and lawsuits involving
vendors, staff or management involved with property claims, property damage, hurricane damage,
hail, water damage, roof damage, and/or wind damage claims from 2000 to present.

RESPONSE:

REQUEST FOR PRODUCTION NO. 75: Any and all correspondence and lawsuits concerning
the issues of honesty, conflict of interest, criminal actions, past criminal record, criminal
conduct, fraud investigation and/or inappropriate behavior of any person associated with the
handling of Defendant's claims files, management of property damage, hail, water damage, roof
damage and/or wind damage claims, including staff and vendors.

RESPONSE:

REQUEST FOR PRODUCTION NO. 76: Any and all answers made in previous discovery
requests for lists or databases of property damage, hurricane damage, hail damage, water
damage, roof damage and/or wind damage.

RESPONSE:

REQUEST FOR PRODUCTION NO. 77: Any and all answers and affidavits made by
Defendant and its counsel in previous discovery requests for training procedures, and training
manuals for property damage, hurricane damage, hail damage, water damage, roof damage,
and/or wind damage claims.

RESPONSE:

REQUEST FOR PRODUCTION NO. 78: Any and all reports, documents or correspondence
reflecting the history of payment and reserves on this file.

RESPONSE:

REQUEST FOR PRODUCTION NO. 79: Any and all reports, documents or correspondence
containing names of designated individuals who gave testimony as Person Most Knowledgeable
for claims, property damage, hurricane damage, catastrophe, hail damage, water damage, roof
damage, and/or wind damage claims for 2000 through the present, along with a list of the
lawsuits where testimony was given.

RESPONSE:



Plaintiffs Requests for Production                                                           12
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RE UEST FOR PRODUCTION NO. 80: Any and all training manuals used by vendors to
train their adjusters on property damage, hurricane damage, hail damage, water damage, roof
damage, and/or wind damage for Defendant. This request is limited to the last five (5) years.

RESPONSE:

RE UEST FOR PRODUCTION NO. 81: Any and all correspondence from Defendant to and
from vendors regarding any instructions, procedures, changes, training, payments, and billing for
property damage, hurricane, flood, wind, hail and catastrophe claims for 2000 through the
present, including but not limited to computer disks, e-mails, paperwork, and manuals.

RESPONSE:

REQUEST FOR PRODUCTION NO. 82: Any and all correspondence concerning issues with
billing and claims handling with Defendant's vendors, and/or independent adjusting companies.
This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 83: Any and all demand letters, lawsuits and/or
subrogation claims filed against any of Defendant's vendors, or by any vendors against
Defendant. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 84: Any and all reports, documents or correspondence
containing lists of attendees, dates, and locations of all meetings conducted by Defendant for all
independent adjusters and Defendant's staff for property damage claims, hurricane damage
claims, flood damage claims, wind damage claims, hail damage claims, water damage claims,
and/or roof damage claims training. This request is limited to the last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 85: Any and all reports, documents or correspondence
containing lists of files with written complaints or DOI complaints on property damage,
hurricane damage, wind damage, hail damage, water damage, and/or roof damage claims
previously gathered and produced in earlier complaints or lawsuits. This request is limited to the
last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 86: Any and all reports, documents or correspondence
containing lists of all lawsuits or disputes filed against Defendant or its entities or affiliates
nationwide, containing an element of property damage, hurricane damage, hail damage, water
damage, roof damage, and/or wind damage for 2000 through the present.



Plaintiff's Requests for Production                                                             13
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RESPONSE:

REQUEST FOR PRODUCTION NO. 87: Copies of the front and back of each negotiated
check made payable solely or co-payable to Plaintiff under its insurance policy in effect during
the time of the insurance claim made the basis of this lawsuit, and which was issued by
Defendant.

RESPONSE:

REQUEST FOR PRODUCTION NO. 88: Copies of the front and back of each negotiated
check made payable solely or co-payable to Plaintiff regarding the insurance claim made the
basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 89: Studies commissioned by Defendant, including any
done by a law firm to analyze its claim management strategies, and/or to help them improve
corporate profits.

RESPONSE:

REQUEST FOR PRODUCTION NO. 90: Affidavits or depositions of the employee(s) who
handled Plaintiffs claim(s), or their supervisors, in all other cases involving the same or similar
allegations as in this case.

RESPONSE:

REQUEST FOR PRODUCTION NO. 91: The entire underwriter's file for underwriting the
insurance policy made the basis ofthis lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 92: All notes, reports, documents, or applications created
and/or generated by Defendant' s underwriting department relating to the insurance policy made the
basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 93: Please produce your Claims Service record related to
the claim that forms the basis of this lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 94: Please produce your Activity Log related to the claim
that forms the basis of this lawsuit.



Plaintiffs Requests for Production                                                               14
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RESPONSE:

REQUEST FOR PRODUCTION NO. 95: Please produce your claims manual that applies or
applied to this claim up to the time that you received a demand letter from Plaintiff or were served
with the petition in this case.

RESPONSE:




Plaintiffs Requests for Production                                                                15
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 PLAINTIFF'S, DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE, FIRST SET
 OF INTERROGATORIES TO DEFENDANT, LEXINGTON INSURANCE COMPANY

TO:      LEXINGTON INSURANCE COMPANY, Defendant

         NOW COMES DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE, Plaintiff in the

above styled and numbered cause, and requires that LEXINGTON INSURANCE COMP ANY,

Defendant, answer the following Interrogatories under the provisions of Rule 197 of the Texas

Rules of Civil Procedme, and Plaintiff requires that answers to same be served upon the

undersigned no later than fifty (50) days after the date of the service hereof.

                                           INSTRUCTIONS

         The undersigned party propounds the attached questions to you under the provisions of Rule

197 of the Texas Rules of Civil Procedme. These questions are being served on yom attorney and

answers to the Interrogatories should, to the extent possible, be answered in the spaces provided;

and if additional space is needed, please use additional sheets or the back of the preceding page.

You are notified that this party specifies that the answers shall be filed and served upon the

undersigned on or before the expiration of fifty (50) days from the date of the service of these

questions; and the questions and yom sworn answers may be offered in evidence at the trial of this

lawsuit.

           In answering these questions, please furnish all information available to you, including

information in the possession of yom attorney, or its investigators, and all persons acting in yom

behalf, and not merely such information known of yom own personal knowledge. If you cannot

answer the Interrogatory in full after exercising due diligence to secure the information, so state in

yom answer and, to the extent possible, answer stating whatever information or knowledge you

have.




Plaintiff's First Set of Interrogatories
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         These Interrogatories are to be considered as continuing, and you are requested to provide

by way of supplemental answers such additional information as you or any other person acting on

your behalf may obtain which will augment or otherwise modify your answers given to the

Interrogatories below. Such supplemental responses are to be filed and served upon this party

immediately upon receipt of such information.

         The following terms shall have the meaning indicated below:

         a.       "Person" means natural persons, corporation, partnerships, sole proprietorships,
                  associations, or any other kind of entity or its agents, servants and employees.

         b.       "Document" means any written instrument, recorded matter of whatever character,
                  including but without limitation, contracts, letters, purchase orders, memoranda,
                  telegrams, notes, catalogs, brochures, diaries, reports, calendars, statements,
                  investigative reports, announcements, newspaper articles, photographs, tape
                  recordings, motion pictures, and any carbon or photographic copies of any such
                  material, and anything else in writing.

         c.       "You" and "Your" shall mean the party to whom these questions are directed as
                  well as agents, employees, attorneys, investigators and all other "persons" acting for
                  said party.

         d.       "Misconduct" is defined as an activity, act, or omission to act which result in a
                  breach of warranty, express or implied, violation of any statute, regulation, or
                  industry standard, whether relating to safety or otherwise, or a breach of any duty of
                  any care.

         e.       "Plaintiff' is defined as the party who is propounding these Interrogatories to you
                  and any of its agents, servants or employees.

         f.       "Occunence" shall mean the accident, event or happening as set forth m the
                  Plaintiff's complaint that has given rise to this lawsuit.

         Whenever an Intenogatory asks inf01mation concerning a document, you are requested to

attach a copy of that document to your answers.

         In each question wherein you are asked to identify a person, please state with respect to such

person his/her full name, last known address and home telephone number. If the person to be




Plaintiff's First Set oflnterrogatories                                                                2
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identified is not a natural person (e.g. a corporation) give its name and address and principal

business activity.

                                    FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1: State the name, address, telephone number, and position or job title
of all persons answering these interrogatories.

ANSWER:

INTERROGATORY NO. 2: State whether Defendant contends that any conditions precedent to
Plaintiffs recovery has not been met, whether said conditions be stated in the insurance policy or
required by law. If so, state what conditions have not been met.

ANSWER:

INTERROGATORY NO. 3: List the date(s) Defendant requested that Plaintiff provide any
named Defendant(s) in this cause of action with requested information that was required in order to
properly evaluate Plaintiffs claim(s).

ANSWER:

INTERROGATORY NO. 4: List the date(s) Defendant received Plaintiff's notice of claim(s) for
coverage for property damages, the date(s) Defendant first acknowledged Plaintiff's notice of
claim(s), and in what form the notice of claim was submitted.

ANSWER:

INTERROGATORY NO. 5: State whether Defendant contends that Plaintiff did not provide
any named Defendant(s) in this cause of action with requested information that was required in
order to properly evaluate Plaintiffs claim(s). If so, state what information was requested and
not provided, and the dates of the requests.

ANSWER:

INTERROGATORY NO. 6: State the name, address, telephone number, and job title or
position of all persons who issued, adjusted, investigated, reviewed, handled, made entries, made
decisions, or exchanged any documents or communications, including electronic, regarding
Plaintiff's insurance policy or the claim(s) made the basis of this lawsuit, including the name,
address, and telephone number of the supervisor of the identified person. For any such person
who is no longer an employee, agent, or representative of any defendant, please so indicate and
provide the person ' s last known address and telephone number.

ANSWER:




Plaintiffs First Set oflnterrogatories                                                            3
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INTERROGATORY NO. 7: State every basis, in fact and in the terms of Plaintiff's policy, for
Defendant' s denial or payment and/or recommendation of denial or payment of Plaintiff's
claims.

ANSWER:

INTERROGATORY NO. 8: State every basis, in fact and in the terms of Plaintiff's policy, for
Defendant' s failure to pay for Plaintiff's full claims.

ANSWER:

INTERROGATORY NO. 9: State the cause number, style, and court for each lawsuit filed
against Defendant in the last five years alleging misconduct, improper claims handling, bad faith,
violations of Texas Insurance Code §541.060, fomlerly known as Article 21.21 , or violations of
Texas Insurance Code §542.055, at seq., formerly known as Article 21.55, in the handling of first
party claims for property damage coverage under property insurance policies.

ANSWER:

INTERROGATORY NO. 10: State the legal theories and describe the factual bases, for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code §541.060, the violation of which is alleged in Plaintiff's current live pleading
against Defendant.

ANSWER:

INTERROGATORY NO. 11: State the legal theories and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code §542.055, in that Defendant followed all statutory deadlines, and by no later
than the 15th day of notice of the claim (in the event of a weather-related catastrophe or major
natural disaster, as defined by the commissioner, the claim-handling deadlines under this
subchapter are extended for an additional 15 days acknowledged receipt of the claim,
commenced investigation of the claim, and requested any proper documents from Plaintiff's
reasonably believed necessary to conduct such investigation, made additional requests during the
investigation as necessary, and if acknowledgment of receipt of the claim was not in writing,
made record of the date, manner and content, as refuted in Plaintiff's current live pleading
against Defendant.

ANSWER:

INTERROGATORY NO. 12: State the legal theories and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code §542.056, in that Defendant followed all statutory deadlines by notifying
Plaintiff's in writing the acceptance or rejection of Plaintiff's claim no later than the 15th
business day after receipt of any requested information from Plaintiff's, (in the event of a
weather-related catastrophe or major natural disaster, as defined by the commissioner, the claim-



Plaintiffs First Set of Interrogatories                                                          4
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handling deadlines under this subchapter are extended for an additional 15 days), including
stating the reason if rejected or explanation of why Defendant could not do so within that time,
as refuted in Plaintiffs current live pleading against Defendant.

ANSWER:

INTERROGATORY NO. 13: State the legal theories and describe the factual bases for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code §542.058, in that Defendant after receiving all items, statements, and forms
reasonably requested and required under §542.055, delays payment of the claim for a period
exceeding the period specified by other applicable statutes or, if other statutes do not specify a
period, for more than 60 days, the insurer shall pay damages and other items as provided by
§542.060, except where it is found as a result of arbitration or litigation that a claim received by
an insurer is invalid and should not be paid by the insurer, receiving all necessary information,
Defendant did not delay in making payments for more than 60 days, as refuted in Plaintiffs
current live pleading against Defendant.

ANSWER:

INTERROGATORY NO. 14: State the name, address, and telephone number of each
policyholder who gave Defendant written notice, within the last five years, of a complaint about
Defendant's handling of first party claims for property damage coverage under property
insurance policies in Texas.

ANSWER:

INTERROGATORY NO. 15: State the name, address, and telephone number of each
policyholder from whom Defendant recorded a complaint, within the last five years, about
Defendant's handling of fust party claims for property damage coverage under property policies
in Texas.

ANSWER:

INTERROGATORY NO. 16: For each complainant identified in the responses to
inte1Togatories 14 and 15, state whether any communication was exchanged between Defendant
and any Texas governmental regulatory agency regarding the complaint. If the response is yes,
for any such complainant, state the name of the agency, the name of the government's
representative with whom Defendant exchanged communication, and the reason for the
governmental agency's involvement.

ANSWER:

INTERROGATORY NO. 17: For each investigation by a Texas governmental agency within
the last five years into Defendant's practices when handling fust party claims for property
damage coverage under property/commercial policies, state the name of the agency, the names of




Plaintiff's First Set oflnterrogatories                                                            5
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all investigators, and the names of all government representatives with whom Defendant
communicated for purposes of the investigation.

ANSWER:

INTERROGATORY N0.18: Identify by name, address, and telephone number, all persons and
or entities that have filed property damage claims, hurricane damage claims, hail damage claims,
water damage claims, roof damage claims and/or wind damage claims with Defendant that have
been adjusted by any and all adjusters assigned to Plaintiffs claim made the basis of this
Lawsuit, from the time of hiring through the present.

ANSWER:

INTERROGATORY NO. 19: Please state whether Defendant took, or is aware of the taking of,
a recorded statement and/or examination under oath of any representative, or agent of, or any
person employed by, Plaintiff regarding the claim made the basis of this lawsuit. If a recorded
statement and or examination under oath was taken, please state the date it was taken and the
name of the person taking the statement. Please also state whether the statement was transcribed,
where the statement is currently located, and/or the last place Defendant saw a transcription of
same.

ANSWER:

INTERROGATORY NO. 20: Identify by name, address, and telephone number, all persons
and/or entities, agency or agents, and brokers that have issued Plaintiffs Policy.

ANSWER:

INTERROGATORY NO. 21: Identify by name, address, and telephone number, all persons
and/or entities, agency or agents, and brokers that prepared Plaintiffs Policy including the
Property made basis of the claim(s).

ANSWER:

INTERROGATORY NO. 22: Identify by name or company name, address, and telephone
number any engineer(s) and/or engineering company(s), used to evaluate Plaintiffs claim(s), the
name(s) of each prior claim each such person(s) and/or company(s) worked for Defendant, the
date(s) of the reports, and the address of the Property for which the inspection was done.

ANSWER:

INTERROGATORY NO. 23: For each of the above listed engineer(s) or engineering
company(s), list the compensation received from Defendant for any services and work performed
in the last five years.

ANSWER:



Plaintiff's First Set oflnterrogatories                                                         6
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 PLAINTIFF'S, DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE, REQUESTS
   FOR ADMISSIONS TO DEFENDANT LEXINGTON INSURANCE COMPANY

TO:       LEXINGTON INSURANCE COMPANY, Defendant

          NOW COMES DHARMA CL, LLC D/B/A BEST WAY INN CLEBURNE, Plaintiff in the

above styled and numbered cause, and requires that LEXINGTON INSURANCE COMPANY,

Defendant, respond to the following Requests for Admissions, and Plaintiff requires that responses

to same be served upon the undersigned no later than fifty (50) days after the date of the service

hereof.

                              REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1: Defendant's principal place of business is Texas.

RESPONSE:

REQUEST FOR ADMISSION NO. 2: Defendant conducts the business of insurance in Texas.

RESPONSE:

REQUEST FOR ADMISSION NO. 3: Defendant insured Plaintiffs property that makes the
basis of this lawsuit.

RESPONSE:

REQUEST FOR ADMISSION NO. 4: Defendant insured Plaintiffs property against wind and
hail damage.

RESPONSE:

REQUEST FOR ADMISSION NO. 5: Plaintiffs property sustained wind damage as a result
of the windstorm that makes the basis of this lawsuit.

RESPONSE:

REQUEST FOR ADMISSION NO. 6: Plaintiffs roof sustained wind damage as a result of the
windstorm that makes the basis of this lawsuit.

RESPONSE:




Plaintiffs Requests for Admissions
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REQUEST FOR ADMISSION NO. 7: The windstorm created openings in Plaintiff's roof
whereby water leaked into the interior of Plaintiff's property causing damage.

RESPONSE:

REQUEST FOR ADMISSION NO. 8: As a result of water leaking into Plaintiff's property,
Plaintiff's personal property was damaged.

RESPONSE:

REQUEST FOR ADMISSION NO. 9: The exterior of Plaintiff's property sustained wind
damage as a result of the windstorm that makes the basis of this lawsuit.

RESPONSE:

REQUEST FOR ADMISSION NO. 10: The windstorm that damaged Plaintiff's property was
a covered occurrence under Plaintiff's insurance policy with the Defendant insurance company.

RESPONSE:

REQUEST FOR ADMISSION NO. 11: Plaintiff's property sustained hail damage as a result
of the hailstorm that makes the basis of this lawsuit.

RESPONSE:

REQUEST FOR ADMISSION NO. 12: Plaintiff's roof sustained hail damage as a result of the
hailstorm that makes the basis of thjs lawsuit.

RESPONSE:

REQUEST FOR ADMISSION NO. 13: The exterior of Plaintiff's property sustained hail
damage as a result of the hailstorm.

RESPONSE:

REQUEST FOR ADMISSION NO. 14: Plaintiff's personal property was damaged as a result
of the hailstorm.

RESPONSE:

REQUEST FOR ADMISSION NO. 15: The hailstorm that damaged Plaintiff's property was a
covered occurrence under Plaintiff's insurance policy with the Defendant insurance company.

RESPONSE:




PlaintiWs Requests for Admissions                                                           2
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REQUEST FOR ADMISSION NO. 16: Defendant improperly and unreasonably adjusted
Plaintiffs claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 17: Defendant performed an outcome-oriented
investigation of Plaintiffs claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 18: Defendant did not conduct a reasonable investigation
of Plaintiffs damage.

RESPONSE:

REQUEST FOR ADMISSION NO. 19: Defendant has unreasonably delayed payment to the
Plaintiff and failed to fairly settle Plaintiffs claim even though liability was reasonably clear.

RESPONSE:

REQUEST FOR ADMISSION NO. 20: Defendant was not open and honest in its adjustment
of Plaintiffs claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 21: Defendant failed to make an attempt to settle
Plaintiffs claim in a fair manner.

RESPONSE:

REQUEST FOR ADMISSION NO. 22: Defendant misrepresented to Plaintiff that the damage
to Plaintiffs Property was not covered under the Policy.

RESPONSE:

REQUEST FOR ADMISSION NO. 23: Defendant misrepresented to Plaintiff that the damage
to Plaintiffs Property did not need to be replaced.

RESPONSE:

REQUEST FOR ADMISSION NO. 24: Defendant was aware that the damage to Plaintiffs
Property warranted replacement and not repair.

RESPONSE:




Plaintiffs Requests for Admissions                                                               3
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REQUEST FOR ADMISSION NO. 25: Defendant took advantage of Plaintiff's lack of
knowledge and experience.

RESPONSE:

REQUEST FOR ADMISSION NO. 26: Defendant engaged in false, misleading, and deceptive
acts or practices in the business of insurance in the handling of Plaintiff's claim.

RESPONSE:

REQUEST FOR ADMISSION NO. 27: Defendant made material false representations and/or
material false promises to Plaintiff.

RESPONSE:

REQUEST FOR ADMISSION NO. 28: Defendant intended that Plaintiff would rely on these
false representations, and upon which Plaintiff did reasonably rely to its detriment.

RESPONSE:

REQUEST FOR ADMISSION NO. 29: Defendant breached its msurance contract with
Plaintiff.

RESPONSE:

REQUEST FOR ADMISSION NO. 30: Defendant failed to provide its adjuster with policies,
guidelines, and/or materials pertaining to the lawful handling of insurance claims.

RESPONSE:

REQUEST FOR ADMISSION NO. 31: Defendant purposely denied and/or underpaid
Plaintiff's claim in order to continue making profit off of Plaintiff.

RESPONSE:

REQUEST FOR ADMISSION NO. 32: Defendant provides incentives and/or bonuses to its
adjusters for closing out claims without adequate payment.

RESPONSE:

REQUEST FOR ADMISSION NO. 33: Defendant provided a bonus to its adjuster in relation
to Plaintiff's claim.

RESPONSE:




Plaintiff's Requests for Admi ss ions                                               4
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REQUEST FOR ADMISSION NO. 34: Defendant has been reported to the Texas Department
oflnsurance for the mishandling of claims in the last five (5) years.

RESPONSE:

REQUEST FOR ADMISSION NO. 35: Defendant adjuster has been sued in the past five (5)
years for the mishandling of claims.

RESPONSE:




Plaintiff's Requests for Admissions                                               5
